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         Attachment 1
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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO
                                   SOUTHERN DIVISION

 PLANNED PARENTHOOD GREAT
 NORTHWEST, HAWAII, ALASKA, INDIANA,
 KENTUCKY, on behalf of itself, its staff, physicians
 and patients, CAITLIN GUSTAFSON, M.D., on
 behalf of herself and her patients, and DARIN L.
 WEYHRICH, M.D., on behalf of himself and his
 patients,
                Plaintiffs,                                  Case No. 1:23-cv-00142-BLW
         v.
                                                             COMBINED
 RAÚL LABRADOR, in his official capacity as                  MEMORANDUM IN
 Attorney General of the State of Idaho; MEMBERS             OPPOSITION TO CERTAIN
 OF THE IDAHO STATE BOARD OF MEDICINE                        DEFENDANTS’ MOTION
 and IDAHO STATE BOARD OF NURSING, in their                  TO DISMISS AND REPLY
 official capacities, COUNTY PROSECUTING                     IN SUPPORT OF
 ATTORNEYS, in their official capacities,                    PLAINTIFFS’ MOTION FOR
                                                             PRELIMINARY
               Defendants.                                   INJUNCTION
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                                        INTRODUCTION

       On March 27, 2023, Idaho Attorney General Raúl Labrador issued a formal letter (the

“Labrador Interpretation”), Dkt. 1, Compl., Ex. 1—on his own letterhead and under his own

signature—announcing a flagrantly unconstitutional interpretation of Idaho’s Total Abortion Ban

(Idaho Code Ann. § 18-622). AG Labrador interpreted the Total Abortion Ban as barring Idaho

health care providers from providing patients with truthful information about abortions lawfully

available outside of Idaho and assistance in accessing these abortions (like appointment

scheduling)—meaning that Idaho providers could lose their licenses, and perhaps face up to five

years in prison, just for giving information about available providers in states where abortion is

legal to patients seeking to terminate their pregnancies. The First Amendment squarely forbids

criminalizing speech by medical professionals that provides truthful information to their patients

about procedures lawfully available to them. Moreover, the Attorney General’s interpretation of

the Total Abortion Ban is premised on the view that Idaho law prohibits abortions provided outside

of Idaho—a blatant violation of the Due Process and Commerce Clauses, which prevent Idaho

authorities from reaching across state lines to sanction conduct that is lawful in other states. Left

with no real choice but to stop providing this information and assistance unless and until a court

provided relief, and left in grave uncertainty as to whether providing some subset of abortions in

states where abortion is legal could expose them to criminal and/or licensure penalties, Plaintiffs

promptly sued.

       In response, AG Labrador does not even attempt to defend the constitutionality of his own

interpretation of Idaho law.     Instead, he has resorted to litigation-inspired tactical moves,

obfuscation, and inapplicable procedural defenses, all aimed at denying Plaintiffs the injunctive

relief they seek so that he may continue to wield the sword of Damocles over their heads to prevent



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them and other Idaho clinicians from providing candid and complete medical information to their

patients and essential health care outside of Idaho. None have merit.

       Two days after Plaintiffs filed suit, AG Labrador issued a letter on April 7, 2023 (the “April

7 Letter,” Dkt. 35-1 Ex. A) announcing that he “withdrew” his March 27 letter. AG Labrador now

claims that the April 7 Letter somehow leaves Plaintiffs with nothing to complain about. But under

settled law, voluntary cessation of conduct after litigation has commenced does not moot the

plaintiffs’ claims unless the defendant can satisfy his formidable burden of showing that the

conduct cannot reasonably be expected to recur if the suit is dismissed. AG Labrador has come

nowhere close to making that showing here. To the contrary, as AG Labrador himself made clear,

both in the April 7 Letter itself and in a subsequent conversation with Plaintiffs’ counsel, he was

withdrawing his March 27 letter only on insubstantial procedural grounds. When directly asked

by Plaintiffs’ counsel, he refused to disavow his indefensible interpretation of the Total Abortion

Ban. Instead, he implausibly insisted that he could not determine whether he agreed with what he

himself wrote until forced to do so in a concrete factual situation. That provides no comfort to

Idaho providers.

       Absent an injunction from the Court, Idaho-licensed medical professionals continue to be

at risk if they provide patients with information about obtaining lawful out-of-state abortions, or

otherwise do anything Defendants deem to “assist” in such abortions, such as making

appointments or contacting providers. Cross-licensed providers fear they may continue to be at

risk if they provide some subset of out-of-state abortions. After all, AG Labrador has refused to

disavow the views in the Labrador Interpretation. So any reasonable provider would continue to

be chilled—just as the three supplemental declarations submitted by Plaintiffs show they are.




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       AG Labrador’s other procedural objections fare no better. Under settled law, he is an

appropriate defendant and has no sovereign immunity; he has no standing to complain about the

timing of service on other Defendants (46 of 47 of whom have, in any event, now been served),

and Plaintiffs have amply shown they are suffering injury in fact. Indeed, every day that their

lawful speech about abortions available outside of Idaho is chilled is a day that Plaintiffs (and their

patients) continue to suffer irreparable harm.

       At bottom, AG Labrador is asking the Court to allow him to pretend that he never expressed

his formal interpretation of Idaho’s law, leaving him free to apply this same interpretation against

Plaintiffs later on. But Plaintiffs—who face loss of their professional livelihoods and, potentially,

attempts to impose criminal penalties—do not have the luxury of assuming away what AG

Labrador has already said. They have no choice but to take seriously the interpretation he formally

offered and refuses to renounce, and to refrain from doing what they are constitutionally entitled

to do unless and until they obtain the relief they request. This Court should see through AG

Labrador’s attempt to avoid judicial review of his constitutional violations, grant Plaintiffs’ Motion

for Preliminary Injunction, and deny Defendants’ Motion to Dismiss.

                                  FACTUAL BACKGROUND 1

       Two days after Plaintiffs filed this lawsuit seeking relief from AG Labrador’s blatantly

unconstitutional interpretation of the Total Abortion Ban, AG Labrador issued a follow-up letter

purporting to withdraw his original March 27 letter. 2 See Dkt. 35-1, Craft Decl. Ex A. AG


1
 Further facts relating to Idaho’s Total Abortion Ban, the origin of the Labrador Interpretation,
and the impact of the Labrador Interpretation on Plaintiffs are set forth in the Memorandum of
Law in Support of Plaintiffs’ Motion for Temporary Restraining Order and Preliminary Injunction
(Dkt. 2) at 2-6 (“PI Brief”).
2
 The Labrador Interpretation set forth the Attorney General’s conclusion that Idaho law prohibits
health care providers from assisting Idahoans in need of out-of-state abortion services by giving


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Labrador provided two reasons for withdrawing the March 27 letter: (1) “the March 27 analysis is

now moot because it relates to a law that has been significantly altered by intervening legislation”

(i.e., the passage of House Bill 374); and (2) because Representative Crane was asking for an

opinion as a “pass-through ‘requestor’” for a “nongovernmental third party who requested it in

service of a political fundraising plea,” the request “was not an authorized request for an Attorney

General’s Opinion as contemplated by Idaho Code § 67-1401(6).” 3 Id. at 1-2. Notably absent

from the April 7 Letter was any statement disavowing or disclaiming the legal reasoning or

conclusions of the Labrador Interpretation.

       On April 10, 2023, during a call between Plaintiffs’ attorneys and counsel for the Attorney

General, AG Labrador’s counsel made clear that the Labrador Interpretation was withdrawn on



them information about and/or making referrals for abortion services in states where such services
are legal. Dkt. 1, Ex. 1 at 2. A necessary corollary of AG Labrador’s conclusion is that, because
he interprets an abortion performed out-of-state as one that triggers licensing sanctions, which only
applies to abortions performed “in violation of this subsection,” the Total Abortion Ban applies
not only to abortions performed within the state but also to abortions performed anywhere else. PI
Brief at 3.
3
  Representative Crane has been described as “one of Labrador’s best friends,” Popkey, Labrador
Admirers Say His Four Years in the Legislature Show He Stands Against the Wind but Doesn’t
Tilt      at      Windmills      at     3,      Idaho      Statesman      (Oct.     17,      2010),
http://mediad.publicbroadcasting.net/p/idaho/files/2010_Popkey_Labrador_Profile.pdf.
Nonetheless, AG Labrador claims in this litigation that Representative Crane made an
“unauthorized” request for his opinion on behalf of anti-abortion clinic Stanton Healthcare. See
Dkt. 41-1, Defs.’ Combined Br., at 3-4. Stanton Healthcare publicly released AG Labrador’s letter
and issued a press release praising his legal analysis. See Idaho Attorney General Issues Legal
Analysis      Affirming      the     Prohibition     of    Abortion      Pills,   Stanton      Int’l,
https://stantoninternational.org/chemicalabortion/ (last visited Apr. 15, 2023). While he now
expresses concern about the “misuse” of his opinion in service of a “political fundraising plea” for
an anti-abortion clinic, AG Labrador ran for Attorney General on a strong anti-abortion platform
and, as recently as January of this year, posted on Twitter that he would “never stop defending the
rights of the unborn in Idaho.” @Raul_Labrador, Twitter (Jan. 20, 2023, 5:35 PM),
https://twitter.com/Raul_Labrador/status/1616565055746867200?cxt
=HHwWgIDQgc7WmO8sAAAA; see Raúl Labrador Idaho’s Next Attorney General,
https://labrador2022.com/about (last visited Apr. 15, 2023) (touting AG Labrador’s 100% scores
from anti-abortion organizations Family Research Council and National Right to Life).

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procedural grounds and that Plaintiffs should draw no substantive inferences about the Labrador

Interpretation of the Total Abortion Ban from its withdrawal. Craft Decl. ¶ 6.

        The Attorney General’s procedural withdrawal of the Labrador Interpretation has not

removed his unconstitutional threat to prosecute Idaho health care providers for providing

information and referrals for out-of-state abortions and, by implication, for providing legal

abortions in other states and has done nothing to alleviate the devastating consequences inflicted

on Plaintiffs by the Interpretation. PI Brief at 3-6. Plaintiffs are still unable to speak freely about

abortion with their patients or to provide them with basic information about how to access abortion

care or assistance in accessing abortion out of state. Dkt. 35-2, Gibron Supp. Decl. ¶¶ 7-10; Dkt.

35-3, Gustafson Supp. Decl. ¶¶ 6-9; Dkt. 35-4, Weyhrich Supp. Decl. ¶¶ 6-7. Some Idaho-licensed

providers wish to provide abortions outside of Idaho but continue to fear that, given the premise

of the Labrador Interpretation, doing so could result in the revocation of their Idaho licenses and/or

attempted criminal prosecution for violation of the Total Abortion Ban. Gibron Supp. Decl. ¶ 10.

Plaintiffs’ patients, many of whom will not know how to access abortion outside of Idaho or will

face delays in accessing this information and in obtaining the care itself, also continue to suffer.

Id. ¶ 11.

                                           ARGUMENT

I.      AG Labrador Lacks Sovereign Immunity And Is A Proper Defendant

        AG Labrador first attacks the Court’s ability to issue a preliminary injunction by citing

“jurisdictional problems” arising from Labrador’s alleged immunity to suit and the fact that all

Defendants had not been formally served by April 14 (ten days before the scheduled hearing).

Dkt. 41-1 at 6-10. These arguments have no basis in the applicable law.




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       A.      Attorney General Labrador Is A Proper Defendant Under Ex Parte Young

       Defendants’ argument that AG Labrador is immune from suit under Ex parte Young’s

interpretation of the Eleventh Amendment, Dkt. 41-1 at 7-9, is foreclosed by Ninth Circuit

precedent and Idaho law. As AG Labrador acknowledges, Dkt. 41-1 at 7, Ex parte Young creates

an exception to sovereign immunity for claims—like Plaintiffs’—that seek prospective injunctive

relief. 209 U.S. 123, 159 (1908). To satisfy the Ex parte Young exception, Plaintiffs must have

standing—which they do, infra at 10-16—and there must be “‘some connection’ between a named

state officer and enforcement of a challenged state law.” Planned Parenthood of Idaho, Inc. v.

Wasden, 376 F.3d 908, 919 (9th Cir. 2004) (internal citations omitted).

       AG Labrador disputes that he has “some connection” to enforcement of Idaho’s abortion

laws against medical providers in Idaho because he claims he has not threatened to prosecute

anyone under these laws and because there is no “special relation[ship]” between AG Labrador

and the enforcement of these laws. Dkt. 41-1 at 7-8. But this overstates what Ex parte Young

requires. “The connection required under Ex parte Young demands merely that the implicated

state official have a relevant role that goes beyond a generalized duty to enforce state law or general

supervisory power over the persons responsible for enforcing the challenged provision.” Mecinas

v. Hobbs, 30 F.4th 890, 903-04 (9th Cir. 2022) (quoting Wasden, 376 F.3d at 919) (cleaned up).

       The Ninth Circuit has already concluded that the Attorney General of Idaho meets this

minimum connection as it applies to enforcement of abortion laws. In Wasden, the Ninth Circuit

faced the question of whether, in a challenge to Idaho’s law requiring parental consent for minors

seeking abortions, the Attorney General was a proper defendant under Ex parte Young. There, the

Attorney General argued that without direct enforcement power, he was immune from suit, but the

court squarely rejected that argument. In so doing it relied on established interpretations of the

Idaho statute that outlines the duties of the Attorney General.
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       Under Idaho law, the attorney general may “assist” county prosecutors in a
       “collaborative effort,” … and determinatively here, unless the county prosecutor
       objects, “the attorney general may, in his assistance, do every act that the county
       attorney can perform.” That is, the attorney general may in effect deputize himself
       … to stand in the role of a county prosecutor, and in that role exercise the same
       power to enforce the statute the prosecutor would have. That power demonstrates
       the requisite causal connection for standing purposes.

Wasden, 376 F.3d at 919-20 (quoting Newman, 129 Idaho, 98 102, 922 P.2d, 395399 (1996)). The

relevant portion of this statute is unchanged today—despite AG Labrador’s uncited assertion that

Wasden is no longer good law because it involved a prior version of the statute—and the reasoning

of Wasden compels the conclusion that AG Labrador is a proper defendant.

       The recently enacted House Bill 242, signed by Governor Brad Little the day Plaintiffs

filed their case and taking effect on May 5, 2023, does nothing to change the analysis set forth in

Wasden. HB 242 empowers the Idaho Attorney General to enforce Idaho Code Ann. § 18-623 if

the county prosecuting attorney refuses to do so, and does nothing to alter the text of Idaho Code

Ann. § 67-1401(7), on which Wasden relied.

               1.     AG Labrador Misinterprets Or Ignores Binding Law And Instead
               Cites Non-Binding And Distinguishable Cases

       To argue that he is protected by sovereign immunity, Dkt. 41-1 at 7-9, AG Labrador

mischaracterizes or ignores binding cases from the Ninth Circuit and instead relies on out-of-

circuit cases that are distinguishable.

       AG Labrador is incorrect that Wasden, which he relegates to a footnote, is outdated. Dkt.

41-1 at 8-9 n.4. Although the court in Wasden did apply a prior version of the Attorney General

statute, the relevant portion of the statute—governing the Attorney General’s relationship to

county prosecuting attorneys—is the same today as it was in Wasden. While the legislature did

amend the statute prior to the Ninth Circuit’s decision in that case, the court addressed that change




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in law and held that it did not undermine the Court’s determination that the Attorney General was

a proper plaintiff:

        After Newman [v. Lance, 129 Idaho 98, 922 P.2d 395 (1996)], section 67–1401 was
        amended by the Idaho legislature .… Because our decision on standing relies only
        on the “assistance” powers the attorney general explicitly retains under revised
        section 67–1401(7), we need not determine whether the amendments to section 67–
        1401 affect the holding in Newman.

Wasden, 376 F.3d at 919 n.7.

        Moreover, the Ninth Circuit has concluded that even an Attorney General without AG

Labrador’s deputizing authority but who has made a threat and has the power to refer the case to

a local prosecutor has “an ample ‘connection with the enforcement’ of the challenged matter” and

is a proper defendant. Culinary Workers Union, Local 226 v. Del Papa, 200 F.3d 614, 619 (9th

Cir. 1999). In Culinary Workers Union, the Attorney General initially threatened enforcement by

letter, just like AG Labrador did.

        Rather than relying on this relevant and binding caselaw, AG Labrador turns to inapposite,

out-of-circuit cases. For example, he relies on McBurney v. Cuccinelli, 616 F.3d 393 (4th Cir.

2010), for the proposition that “the Attorney General’s duty to issue advisory opinions is … not

sufficient to make him the proper party to litigation.” Id. at 400 (cleaned up). But in McBurney,

the plaintiff relied on the authority to issue advisory opinions as a general matter, and the attorney

general had not actually issued an interpretation of the relevant state law—unlike here.

        AG Labrador’s arguments do not undermine the conclusion that he is a proper defendant

in this case.

        B.     The Fact That Certain Defendants Had Not Been Formally Served by April
        14 Is Not A Basis For Declining to Issue A Preliminary Injunction After The April
        24 Hearing

        As of the filing of this brief, of the 48 Defendants, Plaintiffs have accomplished personal

service of process or service has been waived from Attorney General Labrador, the Members of
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the Boards of Medicine and Nursing, and 43 of 44 County Prosecuting Attorneys. Ex. A, Craft

Decl. Apr. 18, 2023 ¶ 3 The one remaining defendant will be served within the next day. Id. ¶ 4.

AG Labrador cannot avoid a preliminary injunction for his own unconstitutional conduct because

one of the 44 County Prosecuting Attorney defendants has not yet been served. 4

       In addition to formally serving the County Prosecuting Attorney in each of Idaho’s 44

counties, as well as the Attorney General and the Boards of Medicine and Nursing, Plaintiffs

called, emailed, and/or faxed (depending on the publicly available contact information) each

County Prosecuting Attorney to notify them of the lawsuit and the April 7 status conference. See

Mullane v. Cent. Hanover Bank & Tr. Co., 339 U.S. 306, 314 (1950) (“An elementary and

fundamental requirement of due process in any proceeding which is to be accorded finality is

notice reasonably calculated, under all the circumstances, to apprise interested parties of the

pendency of the action and afford them an opportunity to present their objections.”); Craft Decl.

Apr. 18, 2023 ¶ 5.

       Plaintiffs do not, and have never, disputed that they must comply with the requirements of

Federal Rule of Civil Procedure 4, which “is a flexible rule that should be liberally construed so

long as a party receives sufficient notice of the complaint.” United Food & Com. Workers Int’l

Union, AFL-CIO v. Alpha Beta Co., 736 F.2d 1371, 1382 (9th Cir. 1984). 5 Plaintiffs have sought

to provide this notice from the time that they commenced this litigation. In the highly unlikely


4
  The only law supporting Defendants’ service argument is from another circuit and is inapposite:
R.M.S. Titanic, Inc. v. Haver, 171 F.3d 943, 958 (4th Cir. 1999). R.M.S. Titanic involved lack of
service to a foreign company who was not even named in the complaint. Id. Extra-territorial
service of a non-party is not at issue here, where all named Defendants are within the state of
Idaho, and where Plaintiffs have already served all but one Defendant, months in advance of the
deadline for service set in the Federal Rule.
5
  Defendants also assert that some County Prosecuting Attorneys intend to file Rule 12 motions
for lack of personal jurisdiction and service of process. But the time limit for service under Rule
4(m) will not run until June.

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event that the remaining Defendant has not been formally served by the date of the Preliminary

Injunction Hearing, the Court can assess at that time whether the remaining defendant, who

unquestionably has notice of this litigation, see Craft Decl. April 18, 2023 ¶ 5, should be bound by

any injunction the Court issues. 6

II.     Plaintiffs Have Suffered Concrete And Severe Impairments Of Their Constitutional
        Rights And The Other Requirements For Justiciability Are Met

        AG Labrador’s second argument, that because Plaintiffs have not been injured, their claims

are non-justiciable and they are not entitled to seek relief in federal court, Dkt. 41-1 at 11-21, is

premised on a willful blindness to the injuries inflicted on Plaintiffs and a misapplication of the

law.

        AG Labrador raises two justiciability arguments: standing and mootness. Dkt. 41-1 at 11-

21; see American Civil Liberties Union of Nev. v. Lomax, 471 F.3d 1010, 1015 (9th Cir. 2006)

(identifying standing and mootness as part of the justiciability inquiry). A plaintiff has standing

to bring a claim if she can establish: (1) “‘injury in fact’ that is (a) concrete and particularized and

(b) actual or imminent, not conjectural or hypothetical;” (2) causation, meaning that the “injury is

fairly traceable to the challenged action of the defendant;” and (3) redressability, meaning that “it

is likely, as opposed to merely speculative, that the injury will be redressed by a favorable

decision.” Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167, 180-81

(2000). 7


6
  See Fed. R. Civ. P. 65(a)(1) explaining that a court may issue a preliminary injunction on notice
to an adverse party.
7
  Because standing and ripeness are essentially identical in this type of inquiry, Plaintiffs do not
distinguish them in this brief. Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 n.5 (2014)
(noting that standing and ripeness “boil down to the same question”). Ripeness can also have a
prudential component, although the Supreme Court has noted that “prudential ripeness” is in
“tension with our recent reaffirmation of the principle that a federal court’s obligation to hear and


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       Defendants do not contest the elements of causation and redressability, beyond arguing

that AG Labrador is not a proper defendant, and Plaintiffs clearly satisfy these factors. Plaintiffs’

injuries—the violation of their constitutional rights—are “fairly traceable” to Defendants’ threat

of legal enforcement of the Total Abortion Ban against them. Friends of the Earth, 528 U.S. at

180-81. Further, Plaintiffs’ injuries “will be redressed by a favorable decision,” id.; injunctive

relief preventing Defendants from enforcing the Total Abortion Ban against Plaintiffs for

constitutionally protected conduct will allow Plaintiffs to provide their patients with the standard

of care that their code of medical ethics requires.

       Focusing all his energy on his argument that Plaintiffs have not been injured, AG Labrador

argues that (1) even before the March 27 letter was withdrawn, there was no injury because no one

had specifically threatened Plaintiffs, Plaintiffs did not demonstrate an intent to violate the law,

and the law’s enforcement history does not support injury; and (2) AG Labrador’s “complete and

unambiguous” withdrawal of the March 27 letter “forecloses any argument that Plaintiffs have a

cognizable injury.” Dkt. 41-1 at 12, 17-21. As set forth below, each of these arguments fails.

       A.      Plaintiffs Are Injured By AG Labrador’s Threat Of Prosecution

       It is well established that a plaintiff need not “first expose himself to actual arrest or

prosecution to be entitled to challenge the statute that he claims deters the exercise of his

constitutional rights” but may bring a pre-enforcement challenge seeking injunctive or declaratory




decide cases within its jurisdiction is virtually unflagging.” Id. at 167 (internal quotation marks
omitted). Regardless, Plaintiffs easily satisfy prudential ripeness, as the claims are primarily legal,
offer “sufficient factual context” for this Court to properly rule, and demonstrate significant
hardship, as Plaintiffs face an “immediate dilemma,” Animal Legal Def. Fund v. Otter, 44 F. Supp.
3d 1009, 1028 (D. Idaho 2014), between engaging in constitutionally protected speech and facing
criminal or licensure penalties, or self-censoring. Tingley v. Ferguson, 47 F.4th 1055, 1071 (9th
Cir. 2022).


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relief where, as here, they face a “credible threat of prosecution.” Babbitt v. United Farm Workers

Nat’l Union, 442 U.S. 289, 298 (1979). Pre-enforcement standing is particularly favored in cases

like this one, involving violations of the First Amendment right to free speech. Tingley, 47 F.4th

at 1066-67 (“The ‘unique standing considerations’ in the First Amendment context ‘tilt

dramatically toward a finding of standing’ when a plaintiff brings a pre-enforcement challenge.”

(quoting Lopez v. Candaele, 630 F.3d 775, 781 (9th Cir. 2010)); see Arizona Right to Life Pol.

Action Comm. v. Bayless, 320 F.3d 1002, 1006 (9th Cir. 2003) (“In an effort to avoid the chilling

effect of sweeping restrictions, the Supreme Court has endorsed what might be called a ‘hold your

tongue and challenge now’ approach rather than requiring litigants to speak first and take their

chances with the consequences.”). Despite this clear and unanimous caselaw, Defendants contend

that Plaintiffs lack standing because they have no “cognizable injury.” Dkt. 41-1 at 12. Defendants

are wrong and indeed, their analysis would make pre-enforcement challenges impossible despite

decades of jurisprudence to the contrary.

       The Ninth Circuit applies a three-factor inquiry to “determine whether a threat of

enforcement is genuine enough to confer an Article III injury”: “(1) whether the plaintiff has a

‘concrete plan’ to violate the law, (2) whether the enforcement authorities have ‘communicated a

specific warning or threat to initiate proceedings,’ and (3) whether there is a ‘history of past

prosecution or enforcement.’” Tingley, 47 F.4th at 1066-67. Plaintiffs easily show such injury

under these factors.

               1.     Plaintiffs Have A Concrete Plan To Violate The Labrador
               Interpretation

       The first factor—a plan or intent to violate the law—requires only that the plaintiff allege

“specific past instances” of acting “in a way that would violate the law.” Id. at 1068. Having done

so, a plaintiff need not “specify ‘when, to whom, where, or under what circumstances’ they plan


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to violate the law.” Id. Any other rule would be effectively impossible to meet in the medical

context, as providers “cannot control when clients will come” seeking services. Id.

        Defendants concede that Plaintiffs have alleged “specific past instances” of action in ways

that would violate the Labrador Interpretation, for example by “provid[ing] patients with

information about obtaining an out-of-state abortion” and “refer[ing] women to abortion providers

in other states after Dobbs but stop[ping] doing this when they learned about the [Labrador

Interpretation].” Dkt. 41-1, at 19-20).

        Plaintiffs’ declarations provide further examples, stating that:

    •   “When requested to, or when medically advisable, [Dr. Gustafson] would provide an out-
        of-state referral for an abortion provider,” which sometimes “would involve speaking not
        only to the patient… but also to out-of-state providers to help facilitate continuity of care.”
        Dkt. 2-3, Gustafson Decl. ¶ 13.

    •   “If the patient wanted to go to one of [Planned Parenthood’s] health centers in a nearby
        state that is part of Planned Parenthood Great Northwest, Hawai’i, Alaska, Indiana,
        Kentucky, [] staff in Idaho could schedule an appointment for them. If the patient wanted
        to go to a health center that is not part of Planned Parenthood, staff would provide patients
        with the information about other providers so that they could call themselves.” Dkt. 2-2,
        Gibron Decl. ¶ 14.

    •   “Since abortion became illegal in Idaho, patients who are considering undergoing such
        screening have asked whether I could refer them out of state for an abortion if the prenatal
        screening shows severe fetal anomalies .… Before Attorney General Labrador’s letter, I
        advised these patients that, if they needed me to do so, I could recommend providers who
        perform abortion services in states where abortion is legal.” Dkt. 2-4, Weyrich Decl.
        ¶¶ 11-12.

Nothing more is required to show an intent to violate the law. See Tingley, 47 F. 4th at 1068.

        Defendants ignore the facts and binding precedent and instead argue that a plaintiff must

allege “when, to whom, where, or under what circumstances,” Dkt. 42, Combined Opp. at 19, a

proposition explicitly rejected by the Ninth Circuit in Tingley, see 47 F. 4th at 1068 (“But we do

not require plaintiffs to specify ‘when, to whom, where, or under what circumstances’ they plan

to violate the law when they have already violated the law in the past.”). Plaintiffs thus easily


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satisfy the first factor because they have in the past referred, and would in the future but-for AG

Labrador’s threat refer, patients to out-of-state abortion providers and provide related information

and assistance—Gibron Decl. ¶¶ 17, 24; Gustafson Decl. ¶¶ 6, 12, 15-17; Gustafson Suppl. Decl.

¶¶ 7-9; Gibron Suppl. Decl. ¶¶ 8-9; Dkt. 35-4, Weyrich Suppl. Decl. ¶¶ 6-7; Weyrich Decl. ¶¶ 6,

9, 12-17—precisely the actions that the Labrador Interpretation would prohibit.

               2.     Defendants’ Threat And Non-Disavowal Of Enforcement Support
               Injury

        The second Tingley factor, whether the enforcement authorities “have communicated a

specific warning or threat to initiate proceedings,” can be satisfied with “general warning of

enforcement coupled with [plaintiffs’] self-censorship in the face of the law.” 47 F.4th at 1066-68.

This general warning can consist of “the government’s failure to disavow enforcement.” Id.; see

California Trucking Ass’n v. Bonta, 996 F.3d 644, 653 (9th Cir. 2021) (finding that the state’s

“refusal to disavow” enforcement is “strong evidence that the state intends to enforce” and that

plaintiffs face a “credible threat”); Bland v. Fessler, 88 F.3d 729, 737 (9th Cir. 1996) (“The

Attorney General of California has not stated affirmatively that his office will not enforce the civil

statute”).

        Given multiple opportunities to do so, Defendants have repeatedly declined to disavow the

Labrador Interpretation, both in communication with Plaintiffs, Dkt. 35-1, Craft Decl. ¶¶ 7-8, Ex.

A, and in representations before this Court. Instead, the only publicly available evidence shows

that Idaho’s top law enforcement officer believes that the statute applies to actions related to out-

of-state abortions, see PI Brief at 11, and neither his “withdrawal” of the letter nor any litigation-

driven equivocations suggest otherwise. There is no question that under these circumstances the

Plaintiff medical providers face a credible threat of enforcement, and it is for exactly these types

of circumstances that pre-enforcement challenges are recognized. See, e.g., California Pro-Life


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Council, Inc. v. Getman, 328 F.3d 1088, 1095 (9th Cir. 2003) (finding that plaintiff’s “fear [of

enforcement proceedings] was reasonable”); Bland, 88 F.3d at 737 (concluding that plaintiff’s

decision to seek affirmative relief, rather than violate a law which had not been enforced for six

years but which the attorney general did not disavow, “was altogether reasonable and demonstrates

a commendable respect for the rule of law”). In these circumstances, as set forth above at 3-5,

Plaintiffs are self-censoring by declining the provide their clients with information about and

assistance in obtaining legal out-of-state abortions.

       Defendants disregard this binding caselaw and misrepresent the nature of Plaintiffs’ claims.

First, even though Defendants are wrong to assert that a “general warning” cannot support injury,

see supra at 14, Plaintiffs’ challenges do not arise from a “general warning” that, for example, the

statute will be enforced. Plaintiffs’ challenge instead arises from a specific warning that the statute

applies to out-of-state referrals, a warning that implicates Plaintiffs’ past conduct and conduct that

Plaintiffs would engage in in the future, were it not for the Labrador Interpretation. See Dkt. 1,

Ex. 1. Plaintiffs themselves constitute a substantial portion of all Idaho providers who would

perform such referrals but for AG Labrador’s threats. Further, as Plaintiffs explain in detail in the

section on mootness, infra at 17-19, the “withdrawal” of the March 27 letter does not affect

Plaintiff’s injury, which was caused by the threat inherent in AG Labrador’s interpretation of the

statute, not by the letter itself. Again, AG Labrador and other defendants have not disavowed this

interpretation. See Tingley, 47 F.4th at 1068.

       AG Labrador attempts to obfuscate his threat by claiming that he never intended to make

it public. But pursuant to Idaho law, all opinions which are given in writing to any representative

when requested upon any question of law relating to their office must be “made available for public

inspection.” Idaho Code Ann. § 67-1401(6). AG Labrador thus plainly knew this opinion was not



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“a private letter,” Dkt. 41-1 at 3, rather, as required by law, it would reach the public and chill the

speech of Idaho providers. 8

               3.      Enforcement History Has “Little Weight” For New Laws

       Finally, the Ninth Circuit has repeatedly recognized that the history of enforcement is

entitled to “little weight” for recent laws, such that standing must be found where the other two

factors are satisfied. Tingley, 47 F.4th at 1069; California Trucking, 996 F.3d at 653.

       The Total Abortion Ban has been in effect for less than a year, and Plaintiffs filed suit days

after the issuance of the March 27, 2023, letter that first announced the Labrador Interpretation.

This is significantly less time than the three years that elapsed between the time the statute at issue

in Tingley was enacted and the time it was challenged, meaning that the Court should accord little

weight to the fact that no one has yet been prosecuted for out-of-state abortion referrals or other

assistance. Tingley, 47 F.4th at 1069.

       B.    AG Labrador’s Litigation-Driven “Withdrawal” Of His Letter Does Not
       Moot the Case

       Defendants make passing reference to the doctrine of mootness based on AG Labrador’s

“withdrawal” of his letter after litigation began, Dkt. 41-1 at 15. 9 The mere fact that AG Labrador


8
 The Attorney General’s claim that Representative Crane’s request was improper because he was
acting as a “pass-through ‘requestor,’” Craft Decl. Ex. A at 1, finds no support in case law.
9
  Although Defendants waived this argument by failing to raise it in their briefs, HB 374 also
does not moot this case. HB 374 does not affect any provision quoted in AG Labrador’s letter or
under which AG Labrador has threatened out-of-state enforcement. It does not “significantly
alter” the definition of abortion or any other relevant provision as the April 7 Letter claims.
While it makes changes to the affirmative defenses of Section 18-622, it does not change any of
the language relevant to the Labrador Interpretation, including the prohibitions on “perform[ing]
or attempt[ing] to perform an abortion [or] … assist[ing] in performing or attempting to perform
an abortion in violation of this subsection.” Idaho Code Ann. § 18-622(2). Where a statutory
amendment has no effect on the provisions of the law that relate to Plaintiffs’ claims, courts have
consistently held that this does not moot the case because it does not meaningfully change the
relevant facts. See, e.g., Northeastern Fla. Chapter of Assoc. Gen. Contractors of Am. v. City of


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has “withdrawn” his March 27 letter does not defeat Plaintiffs’ right to move forward. “The

voluntary cessation of challenged conduct does not ordinarily render a case moot” because that

conduct could restart as soon as the case is dismissed. Knox v. Serv. Emps. Int’l Union, Local 100,

567 U.S. 298, 307 (2012). Courts are clear that “a claim is not moot if the government remains

practically and legally free to return to its old ways despite abandoning them in the ongoing

litigation.” Fikre v. Fed. Bureau of Investigation, 904 F.3d 1033, 1039 (9th Cir. 2018) (cleaned

up).

       For example, in McCormack v. Herzog, 788 F.3d 1017 (9th Cir. 2015), abrogated on other

grounds by Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228 (2022), after an Idaho

prosecutor indicted Jennie McCormack for self-inducing an abortion, “an Idaho state judge

dismissed the criminal complaint [against her] without prejudice for lack of probable cause.” Id.

at 1022. McCormack then filed a class action suit in federal court, seeking an injunction against

the prosecutor and a declaration that the criminal provision used to prosecute her was

unconstitutional. Id. Even though the prosecutor determined that he would not re-file a criminal

case against McCormack, this Court held that McCormack’s case was not moot, reasoning that “a

party cannot conjure up mootness by ceasing the challenged conduct only for practical or strategic

reasons—such as avoiding litigation.” McCormack v. Heideman, 900 F. Supp. 2d 1128, 1138 (D.

Idaho 2013) (Winmill, J.), aff’d sub nom. Herzog, 788 F.3d at 1025 (“McCormack is correct that

this case falls within the ’voluntary cessation’ exception.”).

       The same is true here. While AG Labrador asserts his withdrawal of the March 27 letter

was on “procedural grounds,” the fact of the matter is that the letter was only withdrawn after




Jacksonville, 508 U.S. 656, 662 n.3 (1993); Montana Green Party v. Jacobsen, 17 F.4th 919, 922
(9th Cir. 2021).

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Plaintiffs filed this suit, and, notwithstanding the “withdrawal,” AG Labrador’s office has

repeatedly refused to disavow the substantive interpretation of the Total Abortion Ban offered in

the March 27 letter. 10 Indeed, AG Labrador’s decision to withdraw the letter for procedural

reasons but not to renounce its contents is precisely the type of situation that leaves him “free to

return to [his] old ways” as soon as litigation concludes. 11 Fikre, 904 F.3d at 1039. This is why

courts have repeatedly held that such actions, which are “not governed by any clear or codified

procedures[,] cannot moot a claim” because of the “ease with which” the executive could reverse

its position. Herzog, 788 F.3d at 1025; see Ammex, Inc. v. Cox., 351 F.3d 697, 706 (6th Cir. 2003)

(concluding that a decision to withdraw a letter from the attorney general did not render the case

moot because there was no guarantee that action would not be taken against Plaintiffs once the

case was dismissed, even where the letter set clear parameters governing the attorney general’s

action). 12 Plaintiffs reasonably fear that is precisely AG Labrador’s plan. 13


10
   Plaintiffs’ claims were never premised on the March 27 letter itself, as Defendants suggest.
Instead, the letter was merely the vehicle by which Plaintiffs learned of AG Labrador’s
unconstitutional interpretation of § 18-622. That threat of enforcement remains despite the March
27 letter being withdrawn on procedural grounds, because AG Labrador has repeatedly declined
Plaintiffs’ requests to disavow such enforcement.
11
  AG Labrador’s withdrawal of the March 27 letter does not amount even to voluntary cessation
because AG Labrador seems to maintain the same unconstitutional interpretation of the Total
Abortion Ban he expressed in the letter; he now just maintains this unconstitutional interpretation
more quietly. Courts, such as in Herzog, have found that conduct constituted voluntary cessation
that did not moot a case under much more unambiguous disavowals, such as when prosecutors
have officially agreed not to prosecute.
12
   In Ammex, the Sixth Circuit found the case was not ripe because plaintiffs were able to continue
their normal operations without incurring great expense or hardship and without risk of criminal
liability. 351 F.3d at 709-10. In contrast, Plaintiffs are currently suffering immense hardship as
they are unable to safely provide necessary and ethically required medical advice to their patients
without fear of licensure penalties and/or criminal liability.
13
  When faced with a similar question, the Sixth Circuit held that a mere statement of reassurance
by the Michigan Attorney General that he would not prosecute the plaintiffs for violating a state
abortion law “cannot alleviate fear of prosecution because it is not precedential, and the current


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III.    Plaintiffs Have Satisfied The Remaining Preliminary Injunction Factors

        As set forth in Plaintiffs’ PI Brief at 7-18, they are clearly entitled to a preliminary

injunction. Aside from Defendants’ failed attempts to contest Plaintiffs’ injury, Defendants do not

engage with the substance of Plaintiffs’ claims or meaningfully rebut any of the other preliminary

injunction factors. Like their procedural positions, any arguments set forth by Defendants going

to the merits would be unavailing.

        Plaintiffs are overwhelmingly likely to succeed on the merits. PI Brief at 7-16. Under the

Labrador Interpretation, Idaho law imposes a content- and viewpoint-based restriction on speech

that penalizes medical providers for providing any “support or aid” to a patient seeking an abortion,

including “refer[ring her] across state lines to an abortion provider.” Dkt. 1, Ex. 1 at 2; see

Rosenberger v. Rector and Visitors of Univ. of Va., 515 U.S. 819, 829 (1995). This restriction,

which is subject to strict scrutiny, furthers no legitimate state interest and thus violates Plaintiffs’

First Amendment rights. See Bigelow v. Virginia, 421 U.S. 809, 827-28 (1975) (states have “little,

if any” interest in “shielding its citizens from information about activities outside [its] borders”).

Idaho law, under the Labrador Interpretation also violates the Due Process Clause and the Dormant

Commerce Clause by purporting to penalize extraterritorial conduct that is legal in the state where

it occurs. See Healy v. Beer Inst., Inc., 491 U.S. 324, 336 (1989) (government action “that directly

controls commerce occurring wholly outside the boundaries of a State exceeds the inherent limits

of the enacting State’s authority” and violates the Dormant Commerce Clause); Nielsen v. State of

Oregon, 212 U.S. 315, 321 (1909) (acts that are “done within the territorial limits of [one state],




Attorney General could change it whenever he sees fit, as could any future Attorneys General.”
Northland Fam. Plan. Clinic, Inc. v. Cox, 487 F.3d 323, 342 (6th Cir. 2007). This case is even
more clearly not moot, since AG Labrador has provided no such assurance.

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under authority and license from that state … cannot be prosecuted and punished by … [a different]

state”).

           The other factors also weigh heavily in favor of a preliminary injunction. PI Brief at 16-

18. As discussed supra and in Plaintiffs’ opening brief, Plaintiffs have suffered and continue to

suffer irreparable injury because the Labrador Interpretation renders their constitutionally

protected conduct unlawful under Idaho law. As a result, they have been, are being, and without

relief from the Court, will continue to be, deprived of their freedom of speech and due process

rights and the protections of the Dormant Commerce Clause. See Elrod v. Burns, 427 U.S. 347,

373 (1976); Farris v. Seabrook, 677 F.3d 858, 868 (9th Cir. 2012). And, because “enforcement

of an unconstitutional law is always contrary to the public interest,” Gordon v. Holder, 721 F.3d

638, 653 (D.C. Cir. 2013), both the public interest and the balance of equities tip strongly in

Plaintiffs’ favor.

                                            CONCLUSION

           Given the undisputed merit and urgency of Plaintiffs’ claims this Court should deny certain

Defendants’ motion to dismiss and grant Plaintiffs’ motion for preliminary injunctive relief.


                                                         Respectfully submitted,




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